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                               AUGUSTADIVISION

 SHAWNB. DOBY. SR..

              Petitioner,

                                                cv 113-i52
                                                (Formerly
                                                       CR198-054)
UNITED STATESOF AMERICA,

              Respondent.


                                     ORDER


       After a careful, de novo review of the file, the Court concurswith the Magistrate

                                 to which no objections have been filed.
Judge's Report and Recommendation,

                                     of the MagistrateJudgeis ADOPTED as
Accordingly,the ReportandRecommendation

the opinionof the Court,andthe instant$ 2255motionis DISMISSED.

       Further,a federalprisonermust obtain a certificateof appealabilityC'COA)

beforeappealingthe denialof his motionto vacate. This Court "must issueor deny a

 certificateof appealabilitywhen it entersa final orderadverseto the applicant." Rule

 11(a)to the RulesGovemingSection2255Proceedings.This Cou( shouldgranta COA

only if the prisonermakesa "substantialshowingof the denialof a constitutionalright."

28 U.S.C. $ 2253(c)(2).For the reasonsset fo(h in the Reportand Recommendation,

                                   enunciatedin Slackv. McDaniel, 529 U.S. 473,
and in considerationof the standards

482-84(2000),Petitionerhasfailedto maketherequisiteshowing.Accordingly,a COA
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 is DENIED in this case.' Moreover,because
                                         thereareno non-frivolousissuesto raiseon

 appeal,an appealwouldnot be takenin goodfaith. Accordingly,Petitioneris not entitled

to appealinformapauperis.See28 U.S.C.$ 1915(a)(3).

       Upontlle foregoing,this civil actionis CLOSED.
                       Y?h
        SO ORDERED this / day ofoctober,2013, at Augusta,Georgia.




        I
          "Ifthe courtdeniesa certificate,a partymay not appealthe denialbut may seek
 a certificatefrom the court of appealsunderFederalRule of AppellateProcedure22."
 Rule 1I (a) to the RulesGovemingSection2255Proceedings.
